




Dismissed and Memorandum Opinion filed February 8, 2006








Dismissed
and Memorandum Opinion filed February 8, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00059-CR

____________

&nbsp;

JOSEPH LARRY MOORE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
208th District Court

Harris County, Texas

Trial Court Cause No. 1055576

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of possession of a controlled substance.&nbsp;
In accordance with the terms of a plea bargain agreement with the State, the
trial court sentenced appellant on November 30, 2006, to confinement for five
years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
February 8, 2006.

Panel consists of Justices Yates, Anderson, and
Hudson.

Do Not Publish C Tex. R. App. P.
47.2(b)





